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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MONTANA
                          MISSOULA DIVISION


                                             Case No. 9:22-PO-5001-KLD
UNITED STATES OF AMERICA,
                                             VIOLATION: FBDW00HD
                   Plaintiff,
                                             DISPOSITION CODE: M10
vs.
                                             ORDER ACCEPTING
THOMAS A. BAUER,                             PLEA LETTER

                   Defendant.


      Plaintiff’s counsel, Jen Clark, Assistant U.S. Attorney, submitted a letter to

the Court dated December 6, 2021, advising Plaintiff has reached an agreement

with Defendant. Plaintiff has agreed to reduce the total amount due on the

violation notice from $230.00 to $115.00, and Defendant has agreed to forfeit that

amount.

      IT IS HEREBY ORDERED that Defendant may forfeit collateral in the

amount of $115.00, which has been paid in full.

      DATED this 8th day of March, 2022.



                                        ____________________________________
                                       ___
                                         _________________________________
                                        KATHLEEN L    L. D
                                                         DESOTO
                                                          ESOTO
                                        United States Magistrate Judge
